                 Case 1:21-cr-00447-CJN Document 231 Filed 03/29/23 Page 1 of 2
 Leave to File
 GRANTED
March 29, 2023        FEDERAL COMMUNITY DEFENDER OFFICE
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                    FEDERAL COURT DIVISION - DEFENDER ASSOCIATION OF PHILADELPHIA

       SUITE 540 WEST – THE CURTIS                                        PHONE NUMBER (215) 928-1100
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                                              LISA EVANS LEWIS
                                            CHIEF FEDERAL DEFENDER


                                                            March 22, 2023



       The Honorable Carl J. Nichols
       United States District Court for the District of Columbia
       E. Barrett Prettyman U.S. Courthouse
       333 Constitution Avenue, NW
       Washington, DC 20001

              RE:     United States v. Michael Steven Perkins
                      Criminal Number 21-CR-447-CJN-4

       Dear Judge Nichols:

                On March 15, 2023, after announcing Your Honor’s verdict in the above-captioned case,
       the government and defense counsel were ordered to submit pleadings outlining our respective
       positions regarding whether Mr. Perkins’ conviction under 18 U.S.C. § 111(b) requires remand
       under 18 U.S.C. § 3143(a)(2). I thank you for the opportunity to research this issue, however,
       the research did not yield anything which would support the Court having discretion under this
       statute.

              After discussing this issue with the government, the parties have reached a proposed
       agreement regarding Mr. Perkins’ detention pending sentencing. Upon consideration of Mr.
       Perkins’ perfect compliance with pretrial release, the government does not object to allowing Mr.
       Perkins to self-surrender in thirty (30) days. Mr. Perkins makes this request to allow him the
       opportunity to arrange his affairs and make provision for his family before his incarceration.
       Additionally, should the Court grant this request, it will allow the presentence interview to be
       conducted via a video call, which may not be possible once Mr. Perkins is incarcerated.
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The Honorable Carl J. Nichols
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       Again, I thank the Court for the opportunity to research this issue. All parties are
available to discuss their joint-position with Your Honor via a conference call or video hearing.


                                                     Respectfully,



                                                     NANCY MacEOIN
                                                     Assistant Federal Defender

NM/cc
cc:   Benet J. Kearney, Assistant United States Attorney
